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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA




CHERYL SAGATAW, DEANTHONY
BARNES, ROBERTA STRONG, and
TRAVIS NELOMS, on behalf of
themselves and a class of
similarly-situated individuals,                 Civil Action No.
                                            0:24-cv-00001-ECT/TNL

                          Plaintiffs,
                                             DECLARATION OF
         vs.                                 ROBERTA STRONG
                                          IN SUPPORT OF SECOND
                                         MOTION FOR TEMPORARY
MAYOR JACOB FREY, in his                   RESTRAINING ORDER
individual and official capacity,


                          Defendant.
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                         DECLARATION OF ROBERTA STRONG

I, ROBERTA STRONG, pursuant to 28 U.S.C. § 1746, declare as follows:

    1. I am 33 years old and my name is Roberta Strong.

    2. I’m enrolled at Bois Fort, in Net Lake Minnesota. I am disabled, I have a traumatic brain
       injury that stemmed from an injury inflicted upon me by an ex boyfriend in 2015.

    3. I grew up in South Minneapolis in Little Earth, I went to Anishinabe Academy for middle
       school and then dropped out of high school and then went to the American Indian
       Opportunities Center (AIOIC) - a Native American School for people who are getting
       their GED. I got my GED, and then after that I went to Mexico. And then I ended up
       having four kids.

    4. We all lived together, my family, three years ago. I was living in my grandma’s house in
       Little Earth with my grandma and my aunt, my aunt’s son, my mom, my brother, my two
       kids (and the one on the way), her two cats, and a dog. Then when my grandma died in
       2018 we all had to scatter.

    5. The first place I went when I lost housing after my grandma died was the first Wall of
       Forgotten Natives, near the AIOIC on Franklin by the train station in 2018. That was first
       a bunch of us just hanging out under the bridge and then we all stayed, set tents up,
       formed a little encampment. The City came and told us we couldn’t be there, so everyone
       got scared and scattered.

    6. A whole bunch more police showed up at other encampments we created over the years,
       more cops, more city workers, over and over again telling us we’re not supposed to be
       living outside the way we are, telling us where we could and couldn’t eat, use the
       bathrooms at, etc. I didn’t know it was illegal for me to go use the bathroom in Target but
       the workers at Target told me it was because they saw that I looked homeless even if I
       was buying something.

    7. I found my way back to the Wall of Forgotten Natives in 2023. I had a tent there that I
       was sharing with my brother and his girlfriend. I didn’t see any posted eviction notice and
       I wasn’t told ahead of time that we were getting cleared, they lied to us about whether
       they gave us time to pack. We were told we had to leave, and after we were told to leave,
       during and after the eviction, a few people ODed. Generally, people OD more after being
       told to leave or being given an eviction notice because of the stress of it. They took our
       stuff. I had all of my stuff in that tent. I couldn’t take anything except my purse, which
       just had makeup in it. They didn’t let us grab anything and then they bulldozed and
       trashed everything. Completely destroyed. I had a bunch of my son’s stuff in my tent -



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       like pictures and his baby feet prints, in that tent. I’ll never be able to see or hold any of
       that again. My whole entire life was in that tent, and they destroyed it.

    8. After the Wall of Forgotten Natives, I came to Nenookaasi. It’s so much better here than
       at any other camp and its way better than being in a shelter, it’s like a family.

    9. Shelters are not an option for me because I am not good with too many rules, I’m not
       good with having a bedtime, and if you break a rule you get kicked out. There are rules
       here, and people have been kicked out for breaking them, but the rules here are
       no-brainers to help with keeping camp clean, safe, organized, and livable for everyone
       rather than rules meant to control you.

    10. I’m so much more stable here at Nenookaasi than I have been anywhere else. My two
        cousins are here, and they let me take care of them, I get to be a caregiver here. And
        people help take care of me in return.

    11. I have been through each of the three (so far) evictions of Nenookaasi that has happened
        since August of 2023. These evictions have been hard. Every eviction I lose track of
        everyone, I lose track of my cousins, I lose my belongings, almost all of my clothes. I’ve
        lost some of my medicine.

    12. I do not remember seeing anyone or hearing from anyone on the Homeless Resource
        Team, or anyone offering to drive my things to any downtown storage units at any of
        these evictions. The only people who were helping were supporters from our own friends
        and families. I think Avivo was there and some other community organizations but I
        didn’t see anyone from the City.

    13. When evictions happen I have to rush around. It puts me in a panic mode.

    14. I don’t have any forms of identification, because they have been stolen so many times
        through theft and during evictions. At this point I don’t see a point in replacing them
        because I can’t replace one ID without another form of ID, and even if I went to all that
        trouble I’d just lose them in the next eviction or get them stolen again.

I declare under penalty of perjury that this declaration is true and correct.

Executed on February 12 2024, in the City of Minneapolis, County of Hennepin, State of
Minnesota, Treaty-Ceded Territory of the Dakota peoples.



                                                       _____________________________

                                                       Roberta Strong



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